Case 2:04-cr-20451-BBD Document 21 Filed 04/25/05 Page 1 of 2 Page|D 18/j

lN THE uNlTED sTATEs olsTRlcT couRT § §
FoR THE WEsTERN olsTRlcT oF TENNEssEE §~i»" §> l iii
WEsTr-;RN DivlsloN

it.§§§ ~§_rii i`i.`. ‘._,‘i
:"`-i "Fi./ zl"

:.~j:-;:..§ii"-J'

`~J.‘»"D 'I)F l`l`i, §§§ §§.§'J§-‘ §3

UN|TED STATES OF Ai\/|ER|CA

P|aintiff
VS.
CR. NO. 04-20451-D
QU|NCY L|GON
Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on Apri| 19, 2005. At that time, counsel forthe
defendant requested a continuance of the l\/lay 2, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to Ju|y 5, 2005 With a gm
date of Thursdav, June 30, 200§,_at 9:00 a.m., in Courtroom 3. 9th F|oor of the Federal
Building, l\/lemphis, TN.

The period from lVlay 13, 2005 through Ju|y 15, 2005 is excludable under 18 U.S.C.
§ 3161(h)(8)(B)(iv) because the ends ofjustice served in allowing for additional time to
prepare outweigh the need for a speedy tria|.

lT |S SO ORDERED this §Qj day of Apri|, 2005.

@:1@;1 A,/W

N|CE B. DONALD
N|TED STATES D|STR|CT JUDGE

This docL ment entered on the docket sheet in compliance
with R§§le 55 and/or 32ll:>l FHCrP on "

@2/

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 21 in
case 2:04-CR-20451 Was distributed by faX, mail, or direct printing on
Apri127, 2005 to the parties listed.

 

 

Lee Wilson

WILSON & WRIGHT
50 N. Front St.

Ste. 640

1\/lemphis7 TN 38103

Michael Robert McCusker

BLACK MCLAREN JONES & RYLAND
530 Oak Court Dr.

Ste. 3 10

1\/lemphis7 TN 38117

Camille Reese McMullen
U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

